          Case 23-34815 Document 452 Filed in TXSB on 06/10/24 Page 1 of 2




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                    )
 In re:                                             )       Chapter 11
                                                    )
 GALLERIA 2425 OWNER, LLC,                          )
                                                    )       Case No. 23-34815
                         Debtor.                    )
                                                    )


          CHAPTER 11 TRUSTEE’S STATUS REPORT ON MARKETING PROCESS


TO THE HON. JEFFREY P. NORMAN
UNITED STATES BANKRUPTCY JUDGE:

          1.      On April 29, 2024, the Court approved bidding procedures for the marketing

and sale of the Debtor’s real property at 2425 West Loop South, in Houston. DE 254.

          2.      The Court authorized the Trustee to employ Hilco Real Estate, LLC, to market

the property for sale and to conduct a public auction process. DE 257.

          3.      As detailed in the bid procedures, DE 265-1, the deadline for submitting

qualified bids is June 14, 2024, by 5pm (prevailing Central time). If more than one qualified bid

is received, the Trustee may commence an auction on June 18, 2024, at 1pm.

          4.      The Trustee has received requests from several parties for information on the

nature and scope of interest expressed in the property and the sale process. For the benefit of all

parties, the Trustee provides the following information:

                   •       At least 50 parties have initiated contact to request information, either

                           by telephone or email.

                   •       At least 24 parties have signed non-disclosure agreements.

                   •       At least 8 parties have conducted on-site inspections.
        Case 23-34815 Document 452 Filed in TXSB on 06/10/24 Page 2 of 2




       5.         Based on this level of interest and the assessment of his advisors, the Trustee is

optimistic that there will be a sufficient number of qualified bids to warrant a public auction.

Respectfully submitted,                                        /s/ Christopher R. Murray
                                                               602 Sawyer, Suite 400
                                                               Houston, TX 77007
                                                               chris@jonesmurray.com
                                                               Tel. 832-527-3027
                                                               Chapter 11 Trustee


                                      Certificate of Service

I caused this document to be filed through the Court’s ECF system. I also caused a copy of the

report to be published to data room available to potential asset purchasers.

                                                               /s/ Christopher R. Murray
